                     Case 1:11-cv-00559-WMS Document 19-53 Filed 07/26/11 Page 1 of 1




      District 10

    Population Statistics                      Ethnicity                    Voter Statistics

City of Tonawanda               15,130   White                  78,982   Registered Voters     57,448
Town of Grand Island            20,374   % White               94.53%
Town of Tonawanda               48,044   Black                   1,711   Democrats             23,738
                                         % Black                2.05%    Republicans           19,862
Total Population                83,548   American Indian           322   Conservatives          1,149
Deviation                           -1   % American Indian      0.39%    Working Families         234
% Deviation                    0.00001   Asian                   1,238   Independence           2,657
                                         % Asian                1.48%    Green                    109
Age 18+                         67,303                                   Other                    590
                                         Hispanic Origin         1,682   Blank                  9,109
                                         % Hispanic Origin      2.01%
                                                                         Male                  26,446
                                         Black 18+               1,258   Female                31,002
                                         % Black 18+            1.87%
                                         Hispanic Origin 18+     1,071   Age 18 - 24            4,659
                                         % Hispanic 18+         1.59%    Age 25 - 34            8,248
                                                                         Age 35 - 40            4,484
                                                                         Age 41 - 45            4,505
                                                                         Age 46 - 54           10,414
                                                                         Age 55 - 61            7,956
                                                                         Age 62+               17,182

                                                                         Federal Voters          160
                                                                         Military Voters          97
                                                                         Disabled                657
                                                                         Nursing Home             91

                                                                         Voted 2007 Election   25,813
                                                                         Voted 2009 Election   18,996
